  Supreme Judicial Court for the Commonwealth   Full Court: SJC-12457   Filed: 10/26/2020 12:55 PM
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 1 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 2 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 3 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 4 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 5 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 6 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 7 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 8 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 9 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 10 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 11 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 12 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 13 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 14 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 15 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 16 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 17 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 18 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 19 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 20 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 21 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 22 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 23 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 24 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 25 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 26 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 27 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 28 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 29 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 30 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 31 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 32 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 33 of 34
Case 3:22-cv-30030-MRG Document 13-4 Filed 06/30/22 Page 34 of 34
